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10                           UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,               No. CR 2:22-cr-00080-MCS-2

13             Plaintiff,                    PLEA AGREEMENT FOR DEFENDANT
                                             EDON YOSHIDA KAGASOFF
14                   v.

15   EDON YOSHIDA KAGASOFF,

16             Defendant.

17

18        1.    This constitutes the plea agreement between EDON YOSHIDA
19   KAGASOFF (“defendant”) and the United States Attorney’s Office for
20   the Central District of California (“the USAO”) in the above-
21   captioned case.      This agreement is limited to the USAO and cannot
22   bind any other federal, state, local, or foreign prosecuting,
23   enforcement, administrative, or regulatory authorities.
24                              DEFENDANT’S OBLIGATIONS
25        2.    Defendant agrees to:
26              a.     Give up the right to indictment by a grand jury and,
27   at the earliest opportunity requested by the USAO and provided by the
28   Court, appear and plead guilty to a single-count information in the
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 1   form attached to this agreement as Exhibit A or a substantially

 2   similar form, which charges defendant with Conspiracy to Operate an

 3   Illegal Gambling Business in violation of 18 U.S.C. § 371.

 4              b.    Not contest facts agreed to in this agreement.

 5              c.    Abide by all agreements regarding sentencing contained

 6   in this agreement.

 7              d.    Appear for all court appearances, surrender as ordered

 8   for service of sentence, obey all conditions of any bond, and obey

 9   any other ongoing court order in this matter.

10              e.    Not commit any crime; however, offenses that would be

11   excluded for sentencing purposes under United States Sentencing

12   Guidelines (“U.S.S.G.” or “Sentencing Guidelines”) § 4A1.2(c) are not

13   within the scope of this agreement.

14              f.    Be truthful at all times with the United States

15   Probation and Pretrial Services Office and the Court.

16              g.    Pay the applicable special assessment at or before the

17   time of sentencing unless defendant has demonstrated a lack of

18   ability to pay such assessments.

19              h.    Agree to and not oppose the imposition of the

20   following conditions of probation or supervised release: defendant

21   may not place, receive, or otherwise make any bets or wagers on

22   sporting events or assist others in the placing of any bet or wager

23   on sporting events.

24        3.    Defendant further agrees:

25              a.    To forfeit all right, title, and interest in and to

26   any and all monies, properties, and/or assets of any kind, derived

27   from or acquired as a result of the illegal activity to which

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 1   defendant is pleading guilty, specifically including, but not limited

 2   to, the following:

 3                    i.    $525,509.00 in United States currency seized from

 4   defendant’s residence on or about February 7, 2020;

 5                    ii.   $2,097,918.62 seized from four Bank of America

 6   accounts controlled by defendant ending ‘2900, ‘9519, ‘9145, and

 7   ‘5830;

 8                    iii. $494,161.75 seized from two Citibank accounts

 9   controlled by defendant ending ‘1477 and ‘1485; and

10                    iv.   $46,973.72 seized from a Wells Fargo account

11   controlled by defendant ending ‘7712 (collectively, the “Forfeitable

12   Assets”).

13               b.   To the Court’s entry of an order of forfeiture at or

14   before sentencing with respect to the Forfeitable Assets and to the

15   forfeiture of the assets.

16               c.   To take whatever steps are necessary to pass to the

17   United States clear title to the Forfeitable Assets, including,

18   without limitation, the execution of a consent decree of forfeiture

19   and the completing of any other legal documents required for the

20   transfer of title to the United States.

21               d.   Not to contest any administrative forfeiture

22   proceedings or civil judicial proceedings commenced against the

23   Forfeitable Assets.     If defendant submitted a claim and/or petition

24   for remission for all or part of the Forfeitable Assets on behalf of

25   himself or any other individual or entity, defendant shall and hereby

26   does withdraw any such claims or petitions, and further agrees to

27   waive any right he may have to seek remission or mitigation of the

28   forfeiture of the Forfeitable Assets.
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 1               e.   Not to assist any other individual in any effort

 2   falsely to contest the forfeiture of the Forfeitable Assets.

 3               f.   Not to claim that reasonable cause to seize the

 4   Forfeitable Assets was lacking.

 5               g.   To prevent the transfer, sale, destruction, or loss of

 6   any and all assets described above to the extent defendant has the

 7   ability to do so.

 8               h.   To fill out and deliver to the USAO a completed

 9   financial statement listing defendant’s assets on a form provided by

10   the USAO.

11               i.   That forfeiture of Forfeitable Assets shall not be

12   counted toward satisfaction of any special assessment, fine,

13   restitution, costs, or other penalty the Court may impose.

14        4.     With respect to any criminal forfeiture ordered as a result

15   of this plea agreement, defendant waives: (1) the requirements of

16   Federal Rules of Criminal Procedure 32.2 and 43(a) regarding notice

17   of the forfeiture in the charging instrument, announcements of the

18   forfeiture sentencing, and incorporation of the forfeiture in the

19   judgment; (2) all constitutional and statutory challenges to the

20   forfeiture (including by direct appeal, habeas corpus or any other

21   means); and (3) all constitutional, legal, and equitable defenses to

22   the forfeiture of the Forfeitable Assets in any proceeding on any

23   grounds including, without limitation, that the forfeiture

24   constitutes an excessive fine or punishment.         Defendant acknowledges

25   that forfeiture of the Forfeitable Assets is part of the sentence

26   that may be imposed in this case and waives any failure by the Court

27   to advise defendant of this, pursuant to Federal Rule of Criminal

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 1   Procedure 11(b)(1)(J), at the time the Court accepts defendant’s

 2   guilty plea.

 3        5.    Defendant further agrees to cooperate fully with the USAO,

 4   the Department of Homeland Security, Homeland Security

 5   Investigations, and the Internal Revenue Service Criminal

 6   Investigations, and, as directed by the USAO, any other federal,

 7   state, local, or foreign prosecuting, enforcement, administrative, or

 8   regulatory authority.     This cooperation requires defendant to:

 9              a.    Respond truthfully and completely to all questions

10   that may be put to defendant, whether in interviews, before a grand

11   jury, or at any trial or other court proceeding.

12              b.    Attend all meetings, grand jury sessions, trials or

13   other proceedings at which defendant’s presence is requested by the

14   USAO or compelled by subpoena or court order.

15              c.    Produce voluntarily all documents, records, or other

16   tangible evidence relating to matters about which the USAO, or its

17   designee, inquires.

18              d.    If requested to do so by the USAO, act in an

19   undercover capacity to the best of defendant’s ability in connection

20   with criminal investigations by federal, state, local, or foreign law

21   enforcement authorities, in accordance with the express instructions

22   of those law enforcement authorities.        Defendant agrees not to act in

23   an undercover capacity, tape record any conversations, or gather any

24   evidence except after a request by the USAO and in accordance with

25   express instructions of federal, state, local, or foreign law

26   enforcement authorities.

27        6.    For purposes of this agreement: (1) “Cooperation

28   Information” shall mean any statements made, or documents, records,
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 1   tangible evidence, or other information provided, by defendant

 2   pursuant to defendant’s cooperation under this agreement or pursuant

 3   to the letter agreements previously entered into by the parties dated

 4   February 11, 2020; June 11, 2020; September 18, 2020; and April 20,

 5   2021 (the “Letter Agreements”); and (2) “Plea Information” shall mean

 6   any statements made by defendant, under oath, at the guilty plea

 7   hearing and the agreed to factual basis statement in this agreement.

 8                              THE USAO’S OBLIGATIONS

 9        7.    The USAO agrees to:
10              a.    Not contest facts agreed to in this agreement.
11              b.    Abide by all agreements regarding sentencing contained
12   in this agreement.
13              c.    At the time of sentencing, provided that defendant
14   demonstrates an acceptance of responsibility for the offense up to
15   and including the time of sentencing, recommend a two-level reduction
16   in the applicable Sentencing Guidelines offense level, pursuant to
17   U.S.S.G. § 3E1.1, and recommend and, if necessary, move for an
18   additional one-level reduction if available under that section.
19        8.    The USAO further agrees:
20              a.    Not to offer as evidence in its case-in-chief in the
21   above-captioned case or any other criminal prosecution that may be
22   brought against defendant by the USAO, or in connection with any
23   sentencing proceeding in any criminal case that may be brought
24   against defendant by the USAO, any Cooperation Information.
25   Defendant agrees, however, that the USAO may use both Cooperation
26   Information and Plea Information: (1) to obtain and pursue leads to
27   other evidence, which evidence may be used for any purpose, including
28   any criminal prosecution of defendant; (2) to cross-examine defendant
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 1   should defendant testify, or to rebut any evidence offered, or

 2   argument or representation made, by defendant, defendant’s counsel,

 3   or a witness called by defendant in any trial, sentencing hearing, or

 4   other court proceeding; and (3) in any criminal prosecution of

 5   defendant for false statement, obstruction of justice, or perjury.

 6              b.    Not to use Cooperation Information against defendant

 7   at sentencing for the purpose of determining the applicable guideline

 8   range, including the appropriateness of an upward departure, or the

 9   sentence to be imposed, and to recommend to the Court that

10   Cooperation Information not be used in determining the applicable

11   guideline range or the sentence to be imposed.         Defendant

12   understands, however, that Cooperation Information will be disclosed

13   to the United States Probation and Pretrial Services Office and the

14   Court, and that the Court may use Cooperation Information for the

15   purposes set forth in U.S.S.G § 1B1.8(b) and for determining the

16   sentence to be imposed.

17              c.    In connection with defendant’s sentencing, to bring to

18   the Court’s attention the nature and extent of defendant’s

19   cooperation.

20              d.    If the USAO determines, in its exclusive judgment,

21   that defendant has both complied with defendant’s obligations under

22   paragraphs 2 and 5 above and provided substantial assistance to law

23   enforcement in the prosecution or investigation of another

24   (“substantial assistance”), to move the Court pursuant to U.S.S.G.

25   § 5K1.1 to fix an offense level and corresponding guideline range

26   below that otherwise dictated by the sentencing guidelines, and to

27   recommend a term of imprisonment within this reduced range.

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 1               DEFENDANT’S UNDERSTANDINGS REGARDING COOPERATION

 2        9.    Defendant understands the following:

 3              a.    Any knowingly false or misleading statement by

 4   defendant will subject defendant to prosecution for false statement,

 5   obstruction of justice, and perjury and will constitute a breach by

 6   defendant of this agreement.

 7              b.    Nothing in this agreement requires the USAO or any

 8   other prosecuting, enforcement, administrative, or regulatory

 9   authority to accept any cooperation or assistance that defendant may

10   offer, or to use it in any particular way.

11              c.    Defendant cannot withdraw defendant’s guilty plea if

12   the USAO does not make a motion pursuant to U.S.S.G. § 5K1.1 for a

13   reduced guideline range or if the USAO makes such a motion and the

14   Court does not grant it or if the Court grants such a USAO motion but

15   elects to sentence above the reduced range.

16              d.    At this time the USAO makes no agreement or

17   representation as to whether any cooperation that defendant has

18   provided or intends to provide constitutes or will constitute

19   substantial assistance.     The decision whether defendant has provided

20   substantial assistance will rest solely within the exclusive judgment

21   of the USAO.

22              e.    The USAO’s determination whether defendant has

23   provided substantial assistance will not depend in any way on whether

24   the government prevails at any trial or court hearing in which

25   defendant testifies or in which the government otherwise presents

26   information resulting from defendant’s cooperation.

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 1                               NATURE OF THE OFFENSE

 2           10.   Defendant understands that for defendant to be guilty of

 3   the crime charged in the single-count information, that is,

 4   Conspiracy to Operate an Illegal Gambling Business, in violation of

 5   Title 18, United States Code, Section 371, the following must be

 6   true:

 7                 a.   Beginning in 2014, and continuing through on or about

 8   February 7, 2020, there was an agreement between two or more persons

 9   to commit the crime of Operating an Unlawful Gambling Business, in

10   violation of Title 18, United States Code, Section 1955;

11                 b.   The defendant became a member of the conspiracy

12   knowing of at least one of its objects and intending to help

13   accomplish it; and

14                 c.   One of the members of the conspiracy performed at

15   least one overt act on or after August 1, 2016, for the purpose of

16   carrying out the conspiracy.

17           11.   Defendant understands that for a defendant to be guilty of

18   Operating an Unlawful Gambling Business, in violation of Title 18,

19   United States Code, Section 1955, the following must be true:

20                 a.   Defendant conducted a business consisting of unlawful

21   sports gambling;

22                 b.   Sports gambling was illegal in the State in which

23   defendant conducted the business, namely, California; and

24                 c.   The business involved five or more persons who

25   conducted all or part of the business; and

26                 d.   The business had been in substantially continuous

27   operation by five or more persons for more than thirty days, or had a

28   gross revenue of more than $2,000 in any single day.
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 1                                      PENALTIES

 2        12.   Defendant understands that the statutory maximum sentence

 3   that the Court can impose for a violation of Title 18, United States

 4   Code, Section 371, is: five years’ imprisonment; a three-year period

 5   of supervised release; a fine of $250,000 or twice the gross gain or

 6   gross loss resulting from the offense, whichever is greatest; and a

 7   mandatory special assessment of $100.

 8        13.   The Court will also order forfeiture of the property listed

 9   in the forfeiture notice in the information pursuant to 18 U.S.C.

10   § 982.

11        14.   Defendant understands that supervised release is a period

12   of time following imprisonment during which defendant will be subject

13   to various restrictions and requirements.         Defendant understands that

14   if defendant violates one or more of the conditions of any supervised

15   release imposed, defendant may be returned to prison for all or part

16   of the term of supervised release authorized by statute for the

17   offense that resulted in the term of supervised release, which could

18   result in defendant serving a total term of imprisonment greater than

19   the statutory maximum stated above.

20        15.   Defendant understands that, by pleading guilty, defendant

21   may be giving up valuable government benefits and valuable civic

22   rights, such as the right to vote, the right to possess a firearm,

23   the right to hold office, and the right to serve on a jury.

24   Defendant understands that he is pleading guilty to a felony and that

25   it is a federal crime for a convicted felon to possess a firearm or

26   ammunition.    Defendant understands that the conviction in this case

27   may also subject defendant to various other collateral consequences,

28   including but not limited to revocation of probation, parole, or
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 1   supervised release in another case and suspension or revocation of a

 2   professional license.     Defendant understands that unanticipated

 3   collateral consequences will not serve as grounds to withdraw

 4   defendant’s guilty plea.

 5           16.   Defendant understands that, if defendant is not a United

 6   States citizen, the felony conviction in this case may subject

 7   defendant to: removal, also known as deportation, which may, under

 8   some circumstances, be mandatory; denial of citizenship; and denial

 9   of admission to the United States in the future.          The Court cannot,

10   and defendant’s attorney also may not be able to, advise defendant

11   fully regarding the immigration consequences of the felony conviction

12   in this case.     Defendant understands that unexpected immigration

13   consequences will not serve as grounds to withdraw defendant’s guilty

14   plea.

15                                    FACTUAL BASIS

16           17.   Defendant admits that defendant is, in fact, guilty of the
17   offense to which defendant is agreeing to plead guilty.           Defendant
18   and the USAO agree to the statement of facts provided below and agree
19   that this statement of facts is sufficient to support a plea of
20   guilty to the charge described in this agreement and to establish the
21   Sentencing Guidelines factors set forth in paragraph 19 below but is
22   not meant to be a complete recitation of all facts relevant to the
23   underlying criminal conduct or all facts known to either party that
24   relate to that conduct.
25           Beginning in 2014 and continuing to on or about February 7,
26   2020, in Los Angeles and Orange Counties, California, defendant
27   conspired with co-defendant Wayne Joseph Nix and others to conduct an
28   unlicensed and illegal bookmaking business that took bets for money
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 1   on the outcome of sporting events from various persons at agreed-upon

 2   odds.    The business (the “Nix Gambling Business”), which defendant

 3   and co-defendant Nix operated in violation of California Penal Code

 4   Section 337(a) (prohibiting bookmaking within the state of

 5   California), involved more than five persons who conducted, financed,

 6   managed, supervised, directed, or owned all or part of the business,

 7   including defendant, Nix, K.A., M.F., M.O., D.S., and M.S.           The

 8   business remained in substantially continuous operation by at least

 9   five persons for at least six years and often had gross revenue of

10   well over $2,000 on a single day.

11           Specifically, defendant, operating out of various locations in

12   Los Angeles and Orange Counties, solicited and accepted customers for

13   the Nix Gambling Business.      Defendant worked as an agent, meaning he

14   placed and accepted bets from others for the Nix Gambling Business.

15   Defendant and Nix, and other co-conspirators working at their

16   direction, would use websites and a call center controlled by Sand

17   Island Sports to create accounts through which Nix Gambling

18   Business’s customers could place and track wagers.          Sand Island

19   Sports was based in Costa Rica.       When defendant found a new customer

20   who wanted to place wagers on sporting events, defendant, or one of

21   his associates, contacted Sand Island Sports and arranged for an

22   account to be set up for the customer.        After the account was

23   established, defendant advised the customer as to the limits on his

24   or her wagering activity, and referred the customer to the Sand

25   Island Sports website (www.SandIslandSports.com) to allow California

26   residents and others to place wagers on sporting events over the

27   internet, in violation of California Penal Code Section 337a.

28   Defendant and others in the Sand Island Sports organization would
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 1   keep track of the customers’ wagering activity and win/loss record.

 2   When bettors won a bet, defendant or an associate paid them based on

 3   the size of the bet and the odds that had been set by Sand Island

 4   Sports.    When bettors lost, defendant or an associate collected the

 5   amounts due under the terms of the bet.        In all instances, the Nix

 6   Gambling business, rather than Sand Island Sports, paid the winnings

 7   to the bettors and retained almost all of the money collected from

 8   bettors as a result of their losses.

 9        The following acts were committed in furtherance of the

10   conspiracy, and to accomplish its objects:

11        (a) On January 30, 2017, by text message, defendant KAGASOFF

12   told Agent #1 that Agent #1 owed $2,318 for his personal gambling

13   losses, and defendant KAGASOFF provided Agent #1 balances (i.e.,

14   total amounts due) for two of Agent #1’s clients;

15        (b)    On April 1, 2017, by text message, defendant KAGASOFF

16   provided a former professional baseball player the Sand Island Sports

17   website address and an account number, and told the client that the

18   maximum wager he can place on a game is $25,000;

19        (c) On July 8, 2017, by text message, defendant KAGASOFF told

20   Agent #2 that defendant KAGASOFF would call co-defendant NIX to

21   discuss a potential loan for Agent #2 to enable Agent #2 to pay

22   winnings to a bettor who wagered $1 million annually with Agent #2,

23   and Agent #2 agreed to let defendant KAGASOFF drive Agent #2’s

24   Ferrari for a month if defendant KAGASOFF was able to convince co-

25   defendant NIX to loan him the money;

26        (d) On January 12, 2019, by text message, defendant KAGASOFF

27   agreed to meet Agent #3 later that day to collect money that Agent #3

28   had collected from a bettor; and
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 1        (e) On November 15, 2019, by text message, defendant KAGASOFF

 2   told a business manager for a professional basketball player that

 3   defendant KAGASOFF would increase the maximum dollar amount the

 4   business manager can wager on “NBA games” to $25,000 per game.

 5                                 SENTENCING FACTORS

 6        18.   Defendant understands that in determining defendant’s
 7   sentence the Court is required to calculate the applicable Sentencing
 8   Guidelines range and to consider that range, possible departures
 9   under the Sentencing Guidelines, and the other sentencing factors set
10   forth in 18 U.S.C. § 3553(a).       Defendant understands that the
11   Sentencing Guidelines are advisory only, that defendant cannot have
12   any expectation of receiving a sentence within the calculated
13   Sentencing Guidelines range, and that after considering the
14   Sentencing Guidelines and the other § 3553(a) factors, the Court will
15   be free to exercise its discretion to impose any sentence it finds
16   appropriate up to the maximum set by statute for the crime of
17   conviction.
18        19.   Defendant and the USAO agree to the following applicable
19   Sentencing Guidelines factors:
20      Base Offense Level:                 [12]     [U.S.S.G. §§ 2E3.1(a)(2),
21                                                                      2X1.1(a)]
22   Defendant and the USAO reserve the right to argue that additional
23   specific offense characteristics, adjustments, and departures under
24   the Sentencing Guidelines are appropriate.
25        20.   Defendant understands that there is no agreement as to
26   defendant’s criminal history or criminal history category.
27        21.   Defendant and the USAO reserve the right to argue for a
28   sentence outside the sentencing range established by the Sentencing
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 1   Guidelines based on the factors set forth in 18 U.S.C. § 3553(a)(1),

 2   (a)(2), (a)(3), (a)(6), and (a)(7).

 3                         WAIVER OF CONSTITUTIONAL RIGHTS

 4        22.   Defendant understands that by pleading guilty, defendant

 5   gives up the following rights:

 6              a.    The right to persist in a plea of not guilty.

 7              b.    The right to a speedy and public trial by jury.

 8              c.    The right to be represented by counsel – and if

 9   necessary have the Court appoint counsel - at trial.           Defendant

10   understands, however, that, defendant retains the right to be

11   represented by counsel – and if necessary have the Court appoint

12   counsel – at every other stage of the proceeding.

13              d.    The right to be presumed innocent and to have the

14   burden of proof placed on the government to prove defendant guilty

15   beyond a reasonable doubt.

16              e.    The right to confront and cross-examine witnesses

17   against defendant.

18              f.    The right to testify and to present evidence in

19   opposition to the charges, including the right to compel the

20   attendance of witnesses to testify.

21              g.    The right not to be compelled to testify, and, if

22   defendant chose not to testify or present evidence, to have that

23   choice not be used against defendant.

24              h.    Any and all rights to pursue any affirmative defenses,

25   Fourth Amendment or Fifth Amendment claims, and other pretrial

26   motions that have been filed or could be filed.

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 1                          WAIVER OF APPEAL OF CONVICTION

 2        23.   Defendant understands that, with the exception of an appeal

 3   based on a claim that defendant’s guilty plea was involuntary, by

 4   pleading guilty defendant is waiving and giving up any right to

 5   appeal defendant’s conviction on the offense to which defendant is

 6   pleading guilty.     Defendant understands that this waiver includes,

 7   but is not limited to, arguments that the statute to which defendant

 8   is pleading guilty is unconstitutional, and any and all claims that

 9   the statement of facts provided herein is insufficient to support

10   defendant’s plea of guilty.

11                  LIMITED MUTUAL WAIVER OF APPEAL OF SENTENCE

12        24.   Defendant agrees that, provided the Court imposes a term of
13   imprisonment within or below the range corresponding to an offense
14   level of 10 and the criminal history category calculated by the
15   Court, defendant gives up the right to appeal all of the following:
16   (a) the procedures and calculations used to determine and impose any
17   portion of the sentence, with the exception of the Court’s
18   calculation of defendant’s criminal history category; (b) the term of
19   imprisonment imposed by the Court, except to the extent it depends on
20   the Court’s calculation of defendant’s criminal history category;
21   (c) the fine imposed by the Court, provided it is within the
22   statutory maximum; (d) to the extent permitted by law, the
23   constitutionality or legality of defendant’s sentence, provided it is
24   within the statutory maximum; (e) the term of probation or supervised
25   release imposed by the Court, provided it is within the statutory
26   maximum; and (f) any of the following conditions of probation or
27   supervised release imposed by the Court: the conditions set forth in
28   Second Amended General Order 20-04 of this Court; the drug testing
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 1   conditions mandated by 18 U.S.C. §§ 3563(a)(5) and 3583(d); the

 2   alcohol and drug use conditions authorized by 18 U.S.C. § 3563(b)(7);

 3   and any conditions of probation or supervised release agreed to by

 4   defendant in paragraph 2.

 5        25.   Defendant also gives up any right to bring a post-

 6   conviction collateral attack on the conviction or sentence, except a

 7   post-conviction collateral attack based on a claim of ineffective

 8   assistance of counsel or an explicitly retroactive change in the

 9   applicable Sentencing Guidelines, sentencing statutes, or statute of

10   conviction.    Defendant understands that this waiver includes, but is

11   not limited to, arguments that the statute to which defendant is

12   pleading guilty is unconstitutional, that newly discovered evidence

13   purportedly supports defendant’s innocence, and any and all claims

14   that the statement of facts provided herein is insufficient to

15   support defendant’s plea of guilty.

16        26.   The USAO agrees that, provided (a) all portions of the

17   sentence are at or below the statutory maximum specified above and

18   (b) the Court imposes a term of imprisonment within or above the

19   range corresponding to an offense level of 10 and the criminal

20   history category calculated by the Court, the USAO gives up its right

21   to appeal any portion of the sentence.

22                       RESULT OF WITHDRAWAL OF GUILTY PLEA

23        27.   Defendant agrees that if, after entering a guilty plea
24   pursuant to this agreement, defendant seeks to withdraw and succeeds
25   in withdrawing defendant’s guilty plea on any basis other than a
26   claim and finding that entry into this plea agreement was
27   involuntary, then (a) the USAO will be relieved of all of its
28   obligations under this agreement, including in particular its
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 1   obligations regarding the use of Cooperation Information; and (b) in

 2   any investigation, criminal prosecution, or civil, administrative, or

 3   regulatory action, defendant agrees that any Cooperation Information

 4   and any evidence derived from any Cooperation Information shall be

 5   admissible against defendant, and defendant will not assert, and

 6   hereby waives and gives up, any claim under the United States

 7   Constitution, any statute, or any federal rule, that any Cooperation

 8   Information or any evidence derived from any Cooperation Information

 9   should be suppressed or is inadmissible.

10                           EFFECTIVE DATE OF AGREEMENT

11        28.   This agreement is effective upon signature and execution of
12   all required certifications by defendant, defendant’s counsel, and an
13   Assistant United States Attorney.
14                                BREACH OF AGREEMENT
15        29.   Defendant agrees that if defendant, at any time after the
16   effective date of this agreement, knowingly violates or fails to
17   perform any of defendant’s obligations under this agreement (“a
18   breach”), the USAO may declare this agreement breached.           For example,
19   if defendant knowingly, in an interview, before a grand jury, or at
20   trial, falsely accuses another person of criminal conduct or falsely
21   minimizes defendant’s own role, or the role of another, in criminal
22   conduct, defendant will have breached this agreement.           All of
23   defendant’s obligations are material, a single breach of this
24   agreement is sufficient for the USAO to declare a breach, and
25   defendant shall not be deemed to have cured a breach without the
26   express agreement of the USAO in writing.         If the USAO declares this
27   agreement breached, and the Court finds such a breach to have
28   occurred, then:
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 1              a.    If defendant has previously entered a guilty plea

 2   pursuant to this agreement, defendant will not be able to withdraw

 3   the guilty plea.

 4              b.    The USAO will be relieved of all its obligations under

 5   this agreement; in particular, the USAO: (i) will no longer be bound

 6   by any agreements concerning sentencing and will be free to seek any

 7   sentence up to the statutory maximum for the crime to which defendant

 8   has pleaded guilty; and (ii) will no longer be bound by any agreement

 9   regarding the use of Cooperation Information and will be free to use

10   any Cooperation Information in any way in any investigation, criminal

11   prosecution, or civil, administrative, or regulatory action.

12              c.    The USAO will be free to criminally prosecute

13   defendant for false statement, obstruction of justice, and perjury

14   based on any knowingly false or misleading statement by defendant.

15              d.    In any investigation, criminal prosecution, or civil,

16   administrative, or regulatory action: (i) defendant will not assert,

17   and hereby waives and gives up, any claim that any Cooperation

18   Information was obtained in violation of the Fifth Amendment

19   privilege against compelled self-incrimination; and (ii) defendant

20   agrees that any Cooperation Information and any Plea Information, as

21   well as any evidence derived from any Cooperation Information or any

22   Plea Information, shall be admissible against defendant, and

23   defendant will not assert, and hereby waives and gives up, any claim

24   under the United States Constitution, any statute, Rule 410 of the

25   Federal Rules of Evidence, Rule 11(f) of the Federal Rules of

26   Criminal Procedure, or any other federal rule, that any Cooperation

27   Information, any Plea Information, or any evidence derived from any

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                                          19
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 1   Cooperation Information or any Plea Information should be suppressed

 2   or is inadmissible.

 3           COURT AND UNITED STATES PROBATION AND PRETRIAL SERVICES

 4                                 OFFICE NOT PARTIES

 5        30.   Defendant understands that the Court and the United States
 6   Probation and Pretrial Services Office are not parties to this
 7   agreement and need not accept any of the USAO’s sentencing
 8   recommendations or the parties’ agreements to facts or sentencing
 9   factors.
10        31.   Defendant understands that both defendant and the USAO are
11   free to: (a) supplement the facts by supplying relevant information
12   to the United States Probation and Pretrial Services Office and the
13   Court, (b) correct any and all factual misstatements relating to the
14   Court’s Sentencing Guidelines calculations and determination of
15   sentence, and (c) argue on appeal and collateral review that the
16   Court’s Sentencing Guidelines calculations and the sentence it
17   chooses to impose are not error, although each party agrees to
18   maintain its view that the calculations in paragraph 19 are
19   consistent with the facts of this case.        While this paragraph permits
20   both the USAO and defendant to submit full and complete factual
21   information to the United States Probation and Pretrial Services
22   Office and the Court, even if that factual information may be viewed
23   as inconsistent with the facts agreed to in this agreement, this
24   paragraph does not affect defendant’s and the USAO’s obligations not
25   to contest the facts agreed to in this agreement.
26        32.   Defendant understands that even if the Court ignores any
27   sentencing recommendation, finds facts or reaches conclusions
28   different from those agreed to, and/or imposes any sentence up to the
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 1   maximum established by statute, defendant cannot, for that reason,

 2   withdraw defendant’s guilty plea, and defendant will remain bound to

 3   fulfill all defendant’s obligations under this agreement.           Defendant

 4   understands that no one –- not the prosecutor, defendant’s attorney,

 5   or the Court –- can make a binding prediction or promise regarding

 6   the sentence defendant will receive, except that it will be within

 7   the statutory maximum.

 8                             NO ADDITIONAL AGREEMENTS

 9        33.   Defendant understands that, except as set forth herein,
10   there are no promises, understandings, or agreements between the USAO
11   and defendant or defendant’s attorney, and that no additional
12   promise, understanding, or agreement may be entered into unless in a
13   writing signed by all parties or on the record in court.
14   //
15   //
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 1                      CERTIFICATION OF DEFENDANT’S ATTORNEY

 2        I am Edon Yoshida Kagasoff’s attorney.         I have carefully and

 3   thoroughly discussed every part of this agreement with my client.

 4   Further, I have fully advised my client of his rights, of possible

 5   pretrial motions that might be filed, of possible defenses that might

 6   be asserted either prior to or at trial, of the sentencing factors

 7   set forth in 18 U.S.C. § 3553(a), of relevant Sentencing Guidelines

 8   provisions, and of the consequences of entering into this agreement.

 9   To my knowledge: no promises, inducements, or representations of any

10   kind have been made to my client other than those contained in this

11   agreement; no one has threatened or forced my client in any way to

12   enter into this agreement; my client’s decision to enter into this

13   agreement is an informed and voluntary one; and the factual basis set

14   forth in this agreement is sufficient to support my client’s entry of

15   a guilty
            y plea pursuant to this agreement.
         ilty
16
                                                        8-17-2021
17    JAMES
         ES W. SPERTUS
        ME     SPERT
                   TUS                                 Date
      Attorney
        t      for
               f   Defendant
                   D f d
18    Edon Yoshida Kagasoff
19

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 1                              CERTIFICATE OF SERVICE

 2
          I, Simonia White, declare:
 3
          That I am a citizen of the United States and a resident of or
 4

 5   employed in Los Angeles County, California; that my business address is

 6   the Office of United States Attorney, 312 North Spring Street, Los

 7   Angeles, California 90012; that I am over the age of 18; and that I am

 8   not a party to the above-titled action;
 9        That I am employed by the United States Attorney for the Central
10   District of California, who is a member of the Bar of the United States
11
     District Court for the Central District of California, at whose
12
     direction I served a copy of:
13
          PLEA AGREEMENT FOR DEFENDANT FOR DEFENDANT EDON KAGASOFF
14

15    ‫ ܆‬Placed in a closed envelope      ‫ ܈‬Placed in a sealed envelope
        for collection and inter-office    for collection and mailing via
16      delivery, addressed as follows:    United States mail, addressed
                                           as follows:
17                                       
                              James Spertus, Esq.
18                        1990 S. Bundy Dr, Suite 705
19                              Los Angeles, CA 90025

20
     This Certificate is executed on March 10, 2022, at Los Angeles,
21
     California.   I certify under penalty of perjury that the foregoing is
22
     true and correct.
23
                                              Simonia White
24                                            Simonia White
                                              Legal Assistant
25

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